                                        January 16, 2025

Hon. Thomas M. Horan
Bankruptcy Judge
U.S. Bankruptcy Court
824 North Market Street, 3rd Floor
Wilmington, DE 19801

VIA CM/ECF AND ELECTRONIC MAIL

Re:    Dormify, Inc., Case No. 24-12634 (TMH)

Dear Judge Horan:

With regard to the Court hearing in the above-captioned matter set for tomorrow morning at 11:00
a.m. (ET), I write this letter to clarify the Debtor’s position regarding the evidence the Debtor
intends to rely upon with respect to the Debtor’s Motion for Partial Relief from, and Modification
of, Requirements for a Claims and Noticing Agent Pursuant to Local Rule 2002-1(f) [D.I. 14] (the
“Claims Agent Motion”).

At the “first-day” hearing on the Claims Agent Motion, the Debtor presented direct testimony in
support of such motion in the form of the Declaration of Karen Zuckerman in Support of First-
Day Motions [D.I. 19] (the “Zuckerman Declaration”), which was entered into evidence on the
record. The Debtor does not intend to present any further evidence in support of the Claims Agent
Motion and instead intends to rely upon the evidence already entered into the record by this Court
at the first-day hearing on this matter. Specifically, because the Court has already accepted the
First Zuckerman Declaration into evidence, and the bases for such relief are expressly set forth in
paragraphs 13 through 18 thereof, the Debtor does not believe any further facts or witnesses are
necessary to grant the relief requested therein and shall not seek to enter any further evidence in
support of the Claims Agent Motion.
                                                             Very truly yours,




                                                            Maria Aprile Sawczuk

cc:    ECF Service List
       Jonathan W. Lipshie, Esq. (Office of U.S. Trustee; via electronic mail)
